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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
DCP:DGR/DAS                                          271 Cadman Plaza East
F. #2016R00467                                       Brooklyn, New York 11201



                                                     October 5, 2023

By ECF

The Honorable Margo K. Brodie
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Ng Chong Hwa,
                      Criminal Docket No. 18-538 (MKB)

Dear Chief Judge Brodie:

               The government writes to update the Court concerning the status of the
defendant’s return to Malaysia and to request that the Court enter the attached proposed order, to
permit Ng’s transport back to Malaysia in Malaysia’s custody and to ensure his immediate
surrender to the custody of the Federal Bureau of Prisons (“BOP”) upon his return to the United
States.

               As the Court is aware, the defendant was temporarily surrendered from Malaysia
to the United States pursuant to Article 13(2) of the Extradition Treaty between the United States
and Malaysia and the related agreements between the countries. See Extradition Treaty Between
the Government of the United States of America and the Government of Malaysia, U.S.-Malay.,
Aug. 3, 1996, S. TREATY DOC. NO. 104-26 (1996) (Treaty); Gov’t Ltr. dated Aug. 1, 2023,
ECF No. 262. Pursuant to the terms of that surrender, Malaysia has sought Ng’s return in
connection with their ongoing 1MDB investigation and prosecutions.

                Over the last month, the United States has consulted with Malaysia to ensure that,
pursuant to the Treaty, there will be appropriate measures in place to prevent the defendant’s
flight from justice while he is in Malaysia and to ensure his return to the United States to begin
serving this Court’s sentence.

               Having received those assurances from Malaysia, the government requests that
the Court enter the attached proposed order, which (i) adjourns sine die the defendant’s BOP
surrender date, (ii) directs Ng to surrender to the custody of the U.S. Marshals Service (“USMS”)
on or before October 6, 2023, at a time to be determined by the USMS, to effectuate his return to
Malaysia, and (iii) directs Ng’s surrender to BOP custody immediately upon his return to the
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United States. If the Court enters the proposed order, U.S. law enforcement will deliver Ng to
Malaysian law enforcement authorities in the United States, who will transport him to Malaysia.

               The government has conferred with defense counsel, and they consent to the entry
of the proposed order.



                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:      /s/
                                                   Drew G. Rolle
                                                   Dylan A. Stern
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000

                                                   GLENN LEON
                                                   Chief, Fraud Section
                                                   U.S. Department of Justice

                                                   MOLLY MOESER
                                                   Acting Chief, Money Laundering and
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                                                   U.S. Department of Justice




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